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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

February 2007 Grand Jury Q7 ~ 0 1 1 4 1

UNITED STATES OF AMERICA, CR 0O7-

INDICTMENT

Plaintiff,

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)
)
)
Vv. ) [21 U.S.C. § 846: Conspiracy
) to Possess with Intent to
KENNETH BERNARD RILEY, ) Distribute and Distribute
aka "Kenny Boy," ) Methamphetamine; 21 U.S.C.
)
)
)
)
)
)

JOSEPH CARTER, § 843(b): Use of a

 

 

aka "S.A.," and Communication Facility in
“JUVIE,” Committing a Felony Drug
Offense]
Defendants.
The Grand Jury charges:
COUNT ONE

[21 U.S.C. § 846]

A. OBJECTS OF THE CONSPIRACY

Beginning on or about February 8, 2006, and continuing to on

or about February 9, 2006, in Los Angeles County, within the

Central District of California, and elsewhere, defendants KENNETH

BERNARD RILEY, also known as (“aka”) "Kenny Boy" ("RILEY"),
JOSEPH CARTER, aka "S.A." ("CARTER"), “JUVIE,” and others known

and unknown to the Grand Jury, conspired and agreed with each

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other to knowingly and intentionally (a) possess with intent to
distribute and (b) distribute more than 50 grams of a mixture or
substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21,
United States Code, Section 841(a) (1).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1. Defendant JUVIE would contact defendant RILEY about
purchasing methamphetamine.

2. Defendant RILEY would contact defendant CARTER to ask
defendant CARTER to supply methamphetamine to defendant JUVIE.

3. Defendant RILEY would negotiate with defendant CARTER
the quantity and price of methamphetamine to be supplied to
defendant JUVIE.

4, Defendant RILEY and defendant CARTER would arrange to
have an individual known as “Bones” deliver the methamphetamine
to defendant JUVIE.

Cc. OVERT ACTS

In furtherance of the conspiracy and to accomplish the
objects of the conspiracy, defendants, and others known and
unknown to the Grand Jury, committed various overt acts on or
about the following dates, within the Central District of
California and elsewhere, including but not limited to the
following:

1. On February 8, 2006, in a telephone conversation and

using coded language, defendant RILEY and defendant JUVIE

 
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discussed defendant JUVIE obtaining methamphetamine from
defendant CARTER.

2. On February 8, 2006, in a telephone conversation
and using coded language, defendant RILEY told defendant JUVIE
that the last time defendant RILEY had purchased methamphetamine
from defendant CARTER, defendant CARTER had charged approximately
$550 per ounce.

3. On February 8, 2006, in a telephone conversation and
using coded language, defendant JUVIE told defendant RILEY that
he wanted a half pound of crystal methamphetamine.

4. On February 8, 2006, in a telephone conversation and
using coded language, defendant RILEY told defendant JUVIE that
defendant RILEY would call defendant CARTER to ask whether
defendant CARTER had any methamphetamine available for defendant
JUVIE.

5. On February 8, 2006, in a telephone conversation and
using coded language, defendant RILEY asked defendant CARTER if
“Bones” could provide a half pound of crystal methamphetamine.

6. On February 9, 2006, in a telephone conversation and
using coded language, defendant RILEY told defendant JUVIE that
defendant CARTER had said that “Bones” did not have a pound of
methamphetamine, but that “Bones” could supply ounce-quantities
of methamphetamine.

7. On February 9, 2006, in a telephone conversation and
using coded language, defendant JUVIE told defendant RILEY that
he wanted seven ounces of methamphetamine.

8. On February 9, 2006, in a telephone conversation and

using coded language, defendant RILEY told defendant CARTER that

 
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defendant JUVIE wanted a half pound of methamphetamine if it was
available, but if not, then defendant JUVIE wanted seven ounces.

9. On February 9, 2006, in a telephone conversation and
using coded language, defendant CARTER told defendant RILEY that
“Bones” had eight ounces of methamphetamine for $4,650, or one
ounce for $675.

10. On February 9, 2006, in a telephone conversation and
using coded language, defendant JUVIE asked defendant RILEY when
defendant JUVIE could get the methamphetamine from defendant
CARTER.

11. On February 9, 2006, defendant RILEY gave defendant
JUVIE defendant CARTER’s telephone number.

12. On February 9, 2006, defendant CARTER arranged for
“Bones” to deliver the methamphetamine to defendant JUVIE.

13. On February 9, 2006, in a telephone conversation and
using coded language, defendant CARTER told defendant RILEY that
defendant JUVIE had bought the methamphetamine for someone else,
and that defendant JUVIE had agreed to give defendant CARTER $300
of the profit that defendant JUVIE made from the sale of the
methamphetamine to the other person.

14. On February 9, 2006, in a telephone conversation and
using coded language, defendant CARTER told defendant RILEY that
he had sold defendant JUVIE eight ounces of methamphetamine, and
asked defendant RILEY to call defendant JUVIE to tell defendant
JUVIE that defendant CARTER was ready to get the $300 that

defendant JUVIE had promised him.

 
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COUNT TWO
[21 U.S.C. § 843 (b)]

On or about February 8, 2006, in Los Angeles County, within
the Central District of California, defendant KENNETH BERNARD
RILEY, also known as “Kenny Boy,” knowingly and intentionally
used a communication facility, namely, a telephone, in committing
and causing and facilitating the commission of a felony drug
offense, namely, conspiracy to possess with intent to distribute
and distribute more than 50 grams of a mixture or substance
containing a detectable amount of methamphetamine, a Schedule II

controlled substance, a violation of 21 U.S.C. § 846.

 
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COUNT THREE
[21 U.S.C. § 843(b)]

On or about February 8, 2006, in Los Angeles County, within
the Central District of California, defendant JOSEPH CARTER, also
known as *“S.A.,"” knowingly and intentionally used a communication
facility, namely, a telephone, in committing and causing and
facilitating the commission of a felony drug offense, namely,
conspiracy to possess with intent to distribute and distribute
more than 50 grams of a mixture or substance containing a
detectable amount of methamphetamine, a Schedule II controlled

substance, a violation of 21 U.S.C. § 846.

 
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COUNT FOUR
[21 U.S.C. § 843(b)]

On or about February 8, 2006, in Los Angeles County, within
the Central District of California, defendant “JUVIE” knowingly
and intentionally used a communication facility, namely, a
telephone, in committing and causing and facilitating the
commission of a felony drug offense, namely, conspiracy to
possess with intent to distribute and distribute more than 50
grams of a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, a violation
of 21 U.S.C. § 846.

A TRUE BILL

/s [

FOREPERSON

 

GEORGE S. CARDONA
United States Attorney

THOMAS P. O’BRIEN
Assistant United States Attorney
Chief, Criminal Division

BONNIE L. HOBBS
Assistant United States Attorney
Violent and Organized Crime Section

 
